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UNITED STATES DISTRICT COURT FEB | 2081
Nathan
SOUTHERN DISTRICT OF TEXAS Ochsner, Clerk of Cour
CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA
v. CRIMINAL NUMBER C-20-1217-02

IVAR CANTU
AKA IVAR RAMOS JR. CANTU

COD CL COR 607 COD 6

FACTUAL STATEMENT IN SUPPORT OF GUILTY PLEA
The United States of America, by and through Ryan K. Patrick, United States Attorney
for the Southern District of Texas, and Amanda L. Gould, Assistant United States Attorney, and
the defendant IVAR CANTU, AKA IVAR RAMOS JR. CANTU, and the defendant’s counsel,
hereby stipulate as follows:
I.

The defendant confesses that within the Southern District of Texas on or about October
19, 2020,

1) That Plutarco Gonzalez-Reyes and Jesus Utrera-Abertano were aliens who
had entered or remained in the United States in violation of the law;

2) That the defendant knew or recklessly disregarded the fact that the aliens
were in the United States in violation of the law; and,

3) That the defendant knowingly and intentionally conspired and agreed with
other persons known and unknown to transport the alien within the United
States with intent to further the aliens’ unlawful presence, by means of a
motor vehicle.

IL.
The defendant further stipulates and agrees that:

On October 19, 2020, a person who was later identified as SOFIA TISERINA
drove an SUV into the primary inspection area at the Border Patrol checkpoint
near Falfurrias, Texas, for an immigration inspection. A person who was later
identified as IVAR CANTU, AKA IVAR RAMOS JR. CANTU, was sitting in
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the front passenger seat. In response to questions posed by the primary
inspection agent, Tijerina said that she was coming from “the Valley,” was
going to San Antonio, and that there were only two (2) people in the vehicle.
Cantu told the agent that he and Tijerina were boyfriend and girlfriend. As a
canine was walked around the vehicle, the agent noted that the eyes of both
Tijerina and Cantu were darting left and right, which to him was a sign of
nervousness. The canine alerted to the vehicle and it was referred to the
secondary inspection area.

In the secondary inspection area, agents located two (2) individuals in the trunk
of the vehicle, one of whom was later identified as Plutarco Gonzalez-Reyes,
and the second as Jesus Utrera-Abertano, both of whom were found to be
citizens and nationals of Mexico who were illegally present in the United States.
All the parties were arrested and taken into the checkpoint for processing.

In a post-arrest Mirandized interview, Tijerina told agents that she and Cantu
were going to San Antonio for a getaway. She related that while she was getting
ready to go, Cantu took the vehicle to go to his house to pack, and that he
returned two (2) hours later. Tijerina told agents that Cantu packed the car, that
they then left, got something to eat, and headed to the checkpoint. Tijerina said
that Cantu was quiet during the drive and didn’t want to talk. Tijerina claimed
not to know that there were people in the trunk of the vehicle she was driving.

In a post-arrest Mirandized interview, Cantu told agents that he and Tijerina
had been contemplating smuggling aliens, and that the smuggling facilitator had
sent a $500.00 money order to Cantu. Cantu claimed that the facilitator
threatened to harm his and Tijerina’s family if they backed out of the
arrangement. Cantu thought that, while he was talking to the facilitator,
someone loaded illegal aliens into the trunk of the vehicle.

In a post-arrest Mirandized interview, Plutarco Gonzalez-Reyes told agents that
he was picked up by people he later identified as Tijerina and Cantu from a
hotel after he illegally crossed into the United States. Gonzalez said that he told
Cantu that his destination was Houston, Texas, and Cantu responded with a
“(y)es.” Gonzalez told agents that Cantu put he and Utrera into the trunk of the
vehicle, and that Gonzalez’ family was going to pay Cantu and Tijerina an
undisclosed amount of money.

In a post-arrest Mirandized interview, Jesus Utrera-Abertano told agents that he
was taken to a motel after he illegally entered the United States, and was then
picked up by a man and woman and told to get into the trunk of the vehicle.
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The undersigned have thoroughly reviewed, understand, and agree that the information

contained in this Stipulation of Fact is true and correct.

 

 

/s/ Frank Morales by permission of... Jan 27, 2021
IVAR CANTU Date
AKA IVAR RAMOS JR. CANTU
Defendant
APPROVED:

RYAN K. PATRICK
UNITED STATES ATTORNEY

 
    

/s/ Frank Morales

 

T. GOUL

D FRANCISCO MORALES
Assistant United States Attorney Attorney for the Defendant
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